Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 1 of 10 Page|D 1

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UNITED sTATEs DISTRICT COURT ?D|B HAY 23 PH |= 58
MIDDLE DISTRICT oF FLoRIl)A _ A_t_,.’ q mg CGURT
ORLANDO DIVISION ;,i§ instruct or Fc.oRmA
i.:;if,Ai`iDU. Fl. UR|DA
WILLIAM MARQUEZ,
Plaintiff,
-vs- -
CASE No.; la f |%~ C.u ~ % 01- 0 LL~`t O~Q'AY\
TARGET CoRPoRATIoN,
Defendant.

/
COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, William Marquez, by and through the undersigned
counsel, and sues Defendant, TARGET CORPORATION, and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §
227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §
559.55 et seq. (“FCCPA”).

INTRODUCTION

l. The TCPA Was enacted to prevent companies like Defendant, TARGET
CORPORATION (hereinafter, “Target”), from invading America.n citizen’s privacy and
prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, --US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the moming; they interrupt our

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 2 of 10 Page|D 2

dinner at night; they force the sick and elderly out of bed; they hound us until we want to
rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.
2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fcc.gov/Daily_Releases/Daily_Business/20l 5/db0527/DOC-
333676Al.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 3 of 10 Page|D 3

Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l 1th Cir. 2014)

8. The alleged violations described herein occurred in Seminole County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §l391(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Sanford, Seminole County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (l 1th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th
Cir. 2014).

13. Defendant, Target, is a foreign profit corporation with its principal place
of business located at 1000 Nicollet Mall, Minneapolis, MN 55403 and which conducts
business in the State of Florida through its registered agent, CT Corporation system,
located at 1200 S. Pine Island Road, Plantation, FL 33324.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. Target is a “creditor” as defined in Florida Statute §559.55(5).

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 4 of 10 Page|D 4

16. Target called Plaintiff on Plaintist cellular telephone approximately fifty
(50) times in an attempt to collect a debt.

17. Target attempted to collect an alleged credit card debt from Plaintiff by
this campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintifl’s cellular telephone number Were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an
autodialer because of the vast number of calls he received and because he heard an
extended pause when he answered his phone before a voice came on the line.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407) ***-2062, and was the called party and recipient of Defendant’s calls.

20. Target placed an exorbitant number of automated calls to PlaintifF s
cellular telephone (407) ***-2062 in an attempt to collect on an alleged credit card debt.

21. Upon receipt of the calls from Defendant, Plaintist caller ID identified
the calls were being initiated from, but not limited to, the following phone number(s):
(612) 815-5881, and when that number is called, the caller is met with an automated
message that states “'l`hanks for calling Target REDcard Guest Services.”

22. On several occasions since the inception of the account, Plaintiff

instructed Target’s agent(s) to stop calling his cellular telephone.

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 5 of 10 Page|D 5

23. On or about April 2, 2018, Plaintiff received a call from the Defendant,
met with an extended pause, eventually Was connected to a live agent/representative of
Defendant, informed the agent/representative that he was aware of his alleged obligation,
and demanded that the Defendant cease placing calls to his aforementioned cellular
telephone number.

24. During the aforementioned phone conversation on or about April 2, 2018
with Defendant’s agent/representative, Plaintiff unequivocally revoked any express
consent Defendant may have had for placement of telephone calls to Plaintiff`s
aforementioned cellular telephone number by use of an automatic telephone dialing
system or an artificial voice or pre-recorded message.

25. Each subsequent call the Defendant made to the Plaintist aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

26. Each subsequent call the Defendant made to Plaintiff’s cellular telephone
number was knowing and willful.

27. Despite actual knowledge of their wrongdoing, the Defendant continued
the campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express
consent the Defendant may have had to ca11 his aforementioned cellular telephone
number.

28. Additionally, on or about May 1, 2018, Plaintiff received a call from the
Defendant, met with an extended pause, was eventually connected to a live

agent/representative of Defendant, explained to the agent/representative that he had

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 6 of 10 Page|D 6

previously requested Defendant stop calling, and again demanded that the Defendant
cease placing calls to his aforementioned cellular telephone number.

29. Each of Plaintiff’s requests for the harassment to end was ignored.

30. From about April 2, 2018 through the filing of this Complaint, Defendant
has placed approximately fifty (50) actionable calls to Plaintiff"s aforementioned cellular
telephone number, or as will be established upon a thorough review of Defendant’s
records.

31. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s
cellular telephone in this case.

32. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in
this case, with no way for the consumer, or Defendant, to remove the number.

33. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they wish for
the calls to stop.

34. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

35. Defendant has numerous complaints across the country against it
asserting that its automatic telephone dialing system continues to call despite requested to

Stop.

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 7 of 10 Page|D 7

36. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to ca11 the
consumers

37. Defendant’s corporate policy provided no means for Plaintiff to have his
number removed from Defendant’s call list.

38. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

39. Not a single call placed by Defendant to Plaintiff was placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

40. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

41. From each and every ca11 placed without consent by Defendant to
Plaintiff’ s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon his right of seclusion.

42. From each and every call without express consent placed by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of his cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate
callers or outgoing calls while the phone was ringing from Defendant’s calls.

43. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly

asked for the calls to stop.> Even for unanswered calls, Plaintiff had to waste time to

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 8 of 10 Page|D 8

unlock the phone and deal with missed call notifications and call logs that reflected the
unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular
phone, which are designed to inform the user of important missed communications

44. Each and every call placed Without express consent by Defendant to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering
them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff"s cellular phone, which are designed
to inform the user of important missed communications

45. Each and every call placed without express consent by Defendant to
Plaintiff‘s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’ s cell
phone’s battery power.

46. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s
phone or network.

47. Each and every call placed without express consent by Defendant to
Plaintiffs cell phone resulted in the injury of a trespass to Plaintiff s chattel, namely his
cellular phone and his cellular phone services.

48. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

and aggravation

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 9 of 10 Page|D 9

COUNT I
(Violation of the TCPA)

49. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
right (48) as if fully set forth herein.

50. Defendant willfully violated the TCPA with respect to Plaintiff,
especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified Defendant that he wished for the calls to stop.

51. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff's prior express consent in violation of federal law, including 47
U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other
such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

52. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
eight (48) as if fully set forth herein
53. At all times relevant to this action is subject to and must abide by the laws

of the State of Florida, including Florida Statute § 559.72.

Case 6:18-cV-00807-PGB-G.]K Document 1 Filed 05/23/18 Page 10 of 10 Page|D 10

54. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

55. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

56. Defendant’s actions have directly and proximately resulted in Plaintiff’ s
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper.

Respectfully submitted,

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10

